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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF OKLAHOMA

(1)     EVA GIVEN KOPPADY, AS                               )
        ADMINISTRATOR FOR THE                               )
        ESTATE OF RONALD GIVEN,                             )
                             Plaintiff,                     )
                                                            )
v.                                                          ) Case No. CIV-20-1280-G
                                                            )
(1)     POTTAWATOMIE COUNTY                                 )
        PUBLIC SAFETY CENTER TRUST                          ) JURY TRIAL DEMANDED
        an Oklahoma Title 60 authority;                     )
                                                            )
(2)     BREONNA R. THOMPSON,                                )
        Individually and in her capacity as                 )
        Executive Director of the Pottawatomie              )
        County Public Safety Center Trust;                  )
                                                            )
(3)     MASON WILSON, individually and in his               )
        Capacity as the Chief of Police of the Shawnee      )
        Police Department;                                  )
                                                            )
(4)     BRAD BANEY, individually and in his                 )
        official capacity as Lieutenant of the              )
        Pottawatomie County Public Safety Center;           )
                                                            )
(5)     KORBIN WILLIAMS, individually and                   )
        in his official capacity as a law enforcement       )
        officer;                                            )
                                                            )
(6)     JAKE DUGGAN, individually and                       )
        in his/her official capacity as a law enforcement   )
        officer;                                            )
                                                            )
(7-12) JOHN/JANE DOES (1-6), unknown individuals            )
       who were involved but not yet identified,            )
       and in their individual capacity,                    )
                                      Defendants.           )



      MOTION TO WITHDRAW WITHOUT SUBSTITUTION FOR PLAINTIFF EVA
     GIVRN KOPADDY, AS ADMINSTRATOR OF THE ESTATE OF RONALD GIVEN




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        COMES NOW attorney Kevin R. Kemper, Esq., to move this Honorable Court to withdraw

him immediately as co-counsel without substitution for Plaintiff, EVA KOPPADY, AS

ADMINISTRATOR OF THE ESTATE OF RONALD GIVEN, DECEASED, pursuant to Rule

83.5 of the Local Rules of the United States District Court for the Western District of Oklahoma,

for the following reasons.

        1.      Counsel has professional obligations requiring his immediate withdrawal from this

matter. 5A O.S. § 1.16 (a).

        2.      As of today, there are no hearings or deadlines scheduled.

        3.      Plaintiff and other Counsel have been informed in writing of Counsel’s intent to

withdraw. Counsel has notified the Plaintiff in writing of all if any pending hearings or deadlines.

Plaintiff should be contacted at through Co-Counsel until or unless they withdraw from this matter.

At this time, no substitution of counsel is needed.

        4.      Therefore, Counsel urges this Court to provide the following relief:

        A.      Grant the application of Kevin R. Kemper, Esq., of Guthrie, Oklahoma, to allow

him and the Law Office of Kevin R. Kemper, PLLC, to withdraw immediately without substitution

as an attorney of record for the Plaintiff, EVA GIVEN KOPADDY;

        B.      Grant any and other relief that protects the rights of the Plaintiff and in the interests

of justice.

        Dated this 9th day of June, 2022,

                                        Respectfully submitted,

                                        THE LAW OFFICE OF KEVIN R. KEMPER, PLLC
                                        P.O. Box 454
                                        114 W. Harrison, Suite 201
                                        Guthrie, OK 73044
                                        (405) 877-3043
                                        kemperlawoffice@gmail.com



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                                       /s/ Kevin R. Kemper
                                       Kevin R. Kemper, Esq., OBA#32968

                                 CERTIFICATE OF SERVICE

        I hereby certify that on or about this 9th day of June, 2022, I electronically transmitted the
attached document to the Clerk of the Court using the ECF System for filing. Based on the records
currently on file, the Clerk of the Court will transmit a Notice of Electronic Filing to those
registered participants of the ECF System.

        I further certify that on or about this 9th day of June, 2022, I mailed in the U.S. Mail,
certified with return receipt requested, postage pre-paid, the attached document to the following
who is not a registered participant of the ECF System.

       EVA GIVEN KOPADDY
       2725 S.W. 49th St.
       Oklahoma City, OK 73119
       Plaintiff
                                                      /s/ Kevin R. Kemper
                                                      KEVIN R. KEMPER




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